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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  HELEN MARTEEN,

                  Plaintiff,                                 CASE NO.: 1:24-cv-24575-PCH

  v.

  DORAL AUTOMOTIVE GROUP LLC,

              Defendant.
  __________________________________/

         JOINT NOTICE OF FILING PROPOSED ORDER SCHEDULING MEDIATION

           Plaintiff, HELEN MARTEEN, and Defendant, DORAL AUTOMOTIVE GROUP LLC,

  by and through their respective undersigned counsel and pursuant to Paragraph 12 of the Court’s

  January 21, 2025, Order [ECF No. 9], jointly give notice of filing their Proposed Order Scheduling

  Mediation in connection with the Notice of Mediation Conference filed on May 6, 2025 [ECF No.

  17].

           Dated this 3rd day of June, 2025.

                                                        Respectfully submitted,


   COLE, SCOTT & KISSANE, P.A.                         DEREK SMITH LAW GROUP, PLLC
   Counsel for Defendant                               Counsel for Plaintiff


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